429 F.2d 584
    74 L.R.R.M. (BNA) 2892, 63 Lab.Cas.  P 11,098
    LOCAL UNION NO. 11, INTERNATIONAL BROTHERHOOD OF ELECTRICALWORKERS, Appellant,v.JANDON ELECTRIC COMPANY, Inc., Appellee.Martin S. PETERSON et al., Appellees,v.LOCAL UNION NO. 11, INTERNATIONAL BROTHERHOOD OF ELECTRICALWORKERS, Appellant.
    Nos. 23554, 23555.
    United States Court of Appeals, Ninth Circuit.
    June 25, 1970.
    
      Albert Brundage (argued), Julius Reich, of Brundage &amp; Hackler, Los Angeles, Cal., for appellant.
      David Maddux (argued), of Sheppard, Mullin, Richter &amp; Hampton, Los Angeles, Cal., for appellee.
      Before CHAMBERS, CARTER and KILKENNY, Circuit Judges.
      PER CURIAM:
    
    
      1
      Local 11 appeals from judgments overturning a number of arbitration awards originally rendered in its favor.  The trial court found that the appellee-contractors had not bound themselves to the Inside Wireman's Agreement which authorized the arbitration proceedings.  We affirm.
    
    
      2
      In large part Local 11 requests a redetermination of the facts of the case.  Our review of the record convinces us of the correctness of the trial court's findings and conclusions.  They certainly are not clearly erroneous.  Nor did the trial court err in excluding parol evidence as to the meaning of the significant documents in the case.  Even if an examination beyond the four corners of the documents was authorized on the grounds of ambiguity, there has been no showing that the contractors involved in this case had any knowledge of the customs and practices of the primary negotiating parties.
    
    
      3
      The judgments are affirmed.
    
    